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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION          2OIIOCT 12 PM l:5S


JUAN VEGA, ON BEHALF OF
HIMSELF AND ON BEHALF OF ALL
                                                §                            yji*,
                                                §
OTHERS SIMILARLY SITUATED,                      §
                PLAINTIFF,                      §

                                                §     CAUSE NO. A-17-CV-049-LY
V.                                              §
                                                §
POINT SECURITY, LLC DBA POINT                   §
SECURED, LLC; BRIAN FITCH, AND                  §
TODD FITCH,                                     §
                 DEFENDANTS                     §


                     ORDER ON REPORT AND RECOMMENDATION

       Before the court are Plaintiff's Motion for Conditional Certification of Collective Action and

Authorization for Notice filed June 2, 2017 (Doc. #15); Defendants' Response In Opposition to

Plaintiff's Motion for Conditional Certification of Collective Action and Authorization for Notice

filed June 9, 2017 (Doc. #19); and Plaintiff's Reply to Defendants' Response in Opposition to

Plaintiff's Motion for Conditional Certification of a Collective Action and Authorization for Notice

filed June 14, 2017 (Doc. #21). The motion, response, and reply were referred to the United States

Magistrate Judge for Report and Recommendation as to the merits pursuant to 28 U.S.C.        §   636(b),

Rule 72 of the Federal Rules of Civil Procedure, and Rule 1(d) of Appendix C of the Local Rules

of the United States District Court for the Western District of Texas. The magistrate judge filed his

Report and Recommendation on September 13,2017 (Doe. #22), recommending that this court grant

the motion for conditional certification.

       Pursuant to 28 U.S.C.   §   63 6(b) and Rule 72(b)   of the Federal Rules of Civil Procedure, a

party may serve and file specific, written objections to the proposed findings and recommendations

of the magistrate judge within 14 days after being served with a copy of the Report and
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Recommendation, and thereby secure a de novo review by the district court. A party's failure to

timely file written objections to the proposed findings, conclusions, and recommendation in a Report

and Recommendation bars that party, except upon grounds of plain error, from attacking on appeal

the unobjected-to proposed factual findings and legal conclusions accepted by the district court. See

Douglass v. United ServicesAutoAss'n, 79 F.3d 1415 (5th Cir. 1996) (en banc).

       The parties in this cause were properly notified of the consequences of a failure to file

objections. Objections to the Report and Recommendation were due September 27, 2017. As of the

date of this order, no party has filed objections to the findings of fact and conclusions of law in the

report and recommendation. The court, having reviewed the entire record and finding no plain error,

accepts and adopts the Report and Recommendation of the magistrate judge for substantially the

reasons stated therein.

       IT IS    THEREFORE ORDERED that the United States Magistrate Judge's Report and

Recommendation (Doc. #22) filed in this cause is hereby APPROVED and ACCEPTED as set

forth herein.

        IT IS   THEREFORE ORDERED that Plaintiff's Motion for Conditional Certification of

Collective Action and Authorization for Notice filed June 2, 2017 (Doc. #15) is GRANTED.

        IT IS FURTHER ORDERED that this cause is conditionally certified as a collective action

under Section 216(b) of Title 29 of the United States Code with respect to all current and former

installation technicians who worked for Defendant Point Security, LLC at any location throughout

the United States from three years prior to the date of this order to the present.

       IT IS    FURTHER ORDERED that Defendants shall provide Plaintiff's counsel with the

names, positions, dates of employment, all personal addresses, telephone numbers (home and
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mobile) and all personal email addresses for the class members as defined above ("Class List"), in

a computer-readable format, on or before October 20, 2017.

       IT IS FURTHER ORDERED that Plaintiff's counsel is authorized to send out the "Notice

of Rights and Consent Form," attached as Exhibit A to this order, via regular U.S. Mail and via

electronic mail to all persons contained on the Class List within ten (10) days of receiving the Class

List. Simultaneous with the first mailing, Plaintiff's counsel shall send a text message to the Class

Members with a link to the Notice of Rights and Consent Form. Class Members shall also be given

the option to execute their Consent Forms electronically online. All consent forms shall be returned

to Plaintiff's counsel who in turn will be responsible for filing them with the court. As shall be set

forth in the notice, the Class Members shall have 60 days from the date Plaintiff's counsel sends out

the notices to file their Notice of Consent opting-in to this lawsuit as plaintiffs.

       IT IS FURTHER ORDERED that Defendants are prohibited from communicating, directly

or indirectly, with any current or former installation technician about any matters which touch or

concern the settlement of any outstanding wage claims or other matters related to this suit during the

opt-in period. Defendants shall so instruct all of their branch managers. This order shall not restrict

Defendants from discussing with any current employee matters that arise in the normal course of

business.

        SIGNED this               day of October, 2017.



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